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™ Case: 1:12-cr-00043-TSB Doc #: 270-2 Filed: 06/26/14 Page: 1 of 1 PAGEID #: 2335
' U.S. Department of Justice - Drug Enforcement Administration
: DEA USE ONLY
VOLUNTARY SURRENDER OF SISNS
CONTROLLED SUBSTANCES PRIVILEGES .
With the understanding that | am not required to surrender my controlled substances privileges, | freely and under no
duress, implied or express, execute this document and choose to take the actions described herein.
In view of my alleged failure to comply with the Federal requirements pertaining to controlled substances,
and as an indication of my good faith in desiring to remedy any incorrect or unlawful practices on my part;
LJ In view of my desire to terminate handling of controlled substances listed in Schedule(s) ;
| hereby voluntarily surrender my Drug Enforcement Administration Certificate of Registration, unused order
forms, and all my controlled substances listed in Schedule(s)_11 thru v as evidence of my intent to
relinquish my privilege to handle controlled substances listed in Schedule(s)_11 thru v
| understand that submission of this document to DEA, including any employee of DEA, shall result in the immediate
termination of my registration (and if not all controlled substances privileges are surrendered, be issued a new registration
certificate limited to Schedule(s)_11 thru _v }.
| understand that | am not entitled to a refund of any payments made by me in connection with my registration.
| understand that, beginning on the date that | sign below, | am not authorized to order, manufacture, distribute, possess,
. dispense, administer, prescribe, or engage in any other controlled substance activities whatsoever, except (if applicable) as
limited above.
é Wis R ADDRESS OF REGISTRANT
M Wiig JaJia Pb bet M.D. 14072 Lorain Avenue
Apt D336
DEA REGISTRATION NO. Cleveland, Ohio 44111
BG4093047
SIGNATURE OF REGISTRANT OR AUTHORIZED INDIVIDUAL DATE
Marcellus Gilreath, M.D. July 12, 2013
WITNESSES
NAME a C TITLE
Christopher A. Kresnak /) Diversion Investigator, DEA
NAME AND DATE / ZL / 7 TITLE
Brian en LIF. Special Agent, FBI
PRIVACY ACT
AUTHORITY: Section 301 of the Controlled Substances Act of 1970 (21 U.S.C. 821).
PURPOSE: Permit voluntary surrender of controlled substances.

ROUTINE USES: The Controlled Substances Act Registration Records produce special reports as required for statistical analytical
purposes. Disclosures of information from this system are made to the following categories of users for
the purposes stated:
A. Other Federal law enforcement and regulatory agencies for law enforcement and regulatory purposes.
B. State and local law enforcement and regulatory agencies for law enforcement and regulatory purposes.
C. Persons registered under the Controlled Substances Act (21 U.S.C. 822 and 957) for the purpose of verifying
the registration of customers and practitioners.
EFFECT: Submission of this information is voluntary. There is no effect on the individualif not provided.

Form DEA-104 (11/11) Previous editions obsolete
